 Case:17-03283-LTS Doc#:12998-3 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 27 -Commonwealth Audited Financial Statement as of June 30 2014 Page 1 of 6




                             EXHIBIT 27
 Case:17-03283-LTS Doc#:12998-3 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 27 -Commonwealth Audited Financial Statement as of June 30 2014 Page 2 of 6




                    COMMONWEALTH OF PUERTO RICO
                            Basic Financial Statements
                      and Required Supplementary Information

                                   June 30, 2014
 Case:17-03283-LTS Doc#:12998-3 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 27 -Commonwealth Audited Financial Statement as of June 30 2014 Page 3 of 6



                                  COMMONWEALTH OF PUERTO RICO


                                               Table of Contents



                                                                                             Page(s)

Independent Auditors’ Report                                                                    1–7

Management’s Discussion and Analysis (Unaudited)                                               8–35

Basic Financial Statements:

   Government-Wide Financial Statements:

      Statement of Net Position                                                               36–37

      Statement of Activities                                                                 38–39

   Fund Financial Statements:

      Governmental Funds:

         Balance Sheet                                                                           40

         Reconciliation of the Balance Sheet of Governmental Funds to the Statement of Net
           Position                                                                              41

         Statement of Revenue, Expenditures, and Changes in Fund Balances                        42

         Reconciliation of the Statement of Revenue, Expenditures, and Changes in Fund
           Balances of Governmental Funds to the Statement of Activities                         43

      Proprietary Funds:

         Statement of Net Position                                                               44

         Statement of Revenue, Expenses, and Changes in Fund Net Position                        45

         Statement of Cash Flows                                                              46–47

      Fiduciary Funds:

         Statement of Fiduciary Net Position                                                     48

         Statement of Changes in Fiduciary Net Position – Pension (and Other Employee
            Benefit) Trust Funds                                                                 49

   Major Discretely Presented Component Units:

      Combining Statement of Net Position                                                     50–51

      Combining Statement of Activities                                                          52

   Notes to Basic Financial Statements                                                       53–308
 Case:17-03283-LTS Doc#:12998-3 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 27 -Commonwealth Audited Financial Statement as of June 30 2014 Page 4 of 6



                                 COMMONWEALTH OF PUERTO RICO


                                             Table of Contents



                                                                                          Page(s)

Required Supplementary Information (Unaudited)
   Schedule of Funding Progress – Defined-Benefit Pension Plans                              310

   Schedule of Funding Progress – Postemployment Healthcare Plans                            311

   Schedule of Employers’ Contributions                                                       312

   Schedule of Revenue and Expenditures – Budget and Actual – Budgetary Basis – General
      Fund                                                                                    313

   Notes to Required Supplementary Information                                            314–317

Combining and Individual Fund Financial Statements and Schedules
   General Fund:

       General Fund                                                                           319

       Supplemental Schedule of Expenditures by Agency – Budget and Actual – Budgetary
          Basis                                                                           320–322

   Nonmajor Governmental Funds:

       Nonmajor Governmental Funds                                                        323–324

       Combining Balance Sheet                                                                325

       Combining Statement of Revenue, Expenditures, and Changes in Fund Balances            326

   Nonmajor Proprietary Funds:

       Nonmajor Proprietary Funds                                                             327

       Combining Statement of Net Position                                                    328

       Combining Statement of Revenue, Expenses, and Changes in Fund Net Position            329

       Combining Statement of Cash Flows                                                      330

   Fiduciary Funds:

       Fiduciary Funds                                                                    331–332

       Combining Statement of Fiduciary Net Position – Pension Trust Funds                   333

       Combining Statement of Changes in Fiduciary Net Position – Pension (and Other
          Employee Benefit) Trust Funds                                                       334
 Case:17-03283-LTS Doc#:12998-3 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 27 -Commonwealth Audited Financial Statement as of June 30 2014 Page 5 of 6



                             COMMONWEALTH OF PUERTO RICO


                                           Table of Contents



                                                                               Page(s)

     Combining Statement of Changes in Assets and Liabilities – Agency Funds      335

  Nonmajor Discretely Presented Component Units:

     Nonmajor Discretely Presented Component Units                                336

     Combining Statement of Net Position                                       337–343

     Combining Statement of Activities                                            344
 Case:17-03283-LTS Doc#:12998-3 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 27 -Commonwealth Audited Financial Statement as of June 30 2014 Page 6 of 6


                                   COMMONWEALTH OF PUERTO RICO
                                          Nonmajor Governmental Funds
                                             Year ended June 30, 2014



Special Revenue Funds
Special revenue funds are used to account for and report the proceeds of specific revenue sources that are restricted
or committed to expenditure for specified purposes other than debt service or capital projects. Other resources
(investment earnings and transfers from other funds, for example) also may be reported in the fund if those
resources are restricted, committed, or assigned to the specified purpose of the fund.

Public Buildings Authority Special Revenue Fund – The operating fund of the Public Buildings Authority, a
blended component unit, used to account for the operation, maintenance, equipment replacement, and other
extraordinary operation and maintenance costs of the buildings and facilities that, when constructed, are leased to
the Commonwealth’s Primary Government agencies.

The Children’s Trust Special Revenue Fund – The special revenue fund of the Children’s Trust, a blended
component unit, is used to account for the money received by the Commonwealth from a global settlement
agreement dated November 23, 1998 between certain tobacco companies and certain states, territories, and other
jurisdictions of the United State of America, including the Commonwealth. The financial resources received by
this fund are used to carry out projects aimed at promoting the well-being of children and youth of Puerto Rico.

Puerto Rico Infrastructure Financing Authority’s Special Revenue Fund – The special revenue fund of the
Puerto Rico Infrastructure Financing Authority, a blended component unit, is used to account principally for the
moneys received by the Commonwealth, up to $117 million, of certain federal excise taxes levied on rum and other
articles produced in Puerto Rico and sold in the United States, which are collected by the U.S. Treasury and
returned to the Commonwealth. Under Act No. 44 of June 21, 1988, as amended, the Commonwealth transfers to
this fund the first $117 million of these federal excise taxes reimbursed, which are subsequently transferred to the
Puerto Rico Infrastructure Financing Authority’s Debt Service Fund to provide for the debt service of its special
tax revenue bonds. This special revenue fund also receives ARRA funds for the weatherization program aimed at
converting certain government buildings into eco-friendly locations.

Special Communities Perpetual Trust’s Special Revenue Fund – The special revenue fund of the Special
Communities Perpetual Trust, a blended component unit, is used to account for the moneys received from the
Governmental Development Bank, through a line of credit financing and cash contributions, upon inception of the
Special Communities Perpetual Trust. The financial resources received by this fund are used to carry out
development projects that address the infrastructure and housing needs of certain under privileged communities.

Debt Service Funds
The debt service funds are used to account for and report financial resources that are restricted, committed, or
assigned to expenditure for principal and interest, and related costs other than bonds payable from operations of
proprietary fund types, pension trust funds, and discretely presented component units. Long-term debt and interest
due on July 1 of the following year are accounted for as a fund liability if resources are available as of June 30 for
its payment.

The Children’s Trust Debt Service Fund – The debt service fund of The Children’s Trust accounts for the financial
resources that are restricted, committed, or assigned to expenditure for the payment of interest and principal on
long-term obligations financed with moneys to be received by the Commonwealth from the global settlement
agreement signed by certain tobacco companies.


                                                        323                                              (Continued)
